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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
            UNITED STATES OF AMERICA,                        CASE NO. C16-0689JLR
10
                                  Plaintiff,                 ORDER TO SHOW CAUSE
11
                   v.
12
            JEFFREY P. POMERANTZ,
13
                                  Defendant.
14

15          Federal Rule of Civil Procedure 4 requires a plaintiff to serve the defendant with a

16   summons and a copy of the plaintiff’s complaint and sets forth the specific requirements

17   for doing so. See Fed. R. Civ. P. 4. Rule 4(m), which provides the timeframe in which

18   service must be effectuated, states in relevant part:

19          If a defendant is not served within 90 days after the complaint is filed, the
            court—on motion or on its own after notice to the plaintiff—must dismiss
20          the action without prejudice against that defendant or order that service be
            made within a specified time. But if the plaintiff shows good cause for the
21          failure, the court must extend the time for service for an appropriate period.

22   //


     ORDER - 1
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 1   Id. Here, it appears that Plaintiff United States of America (“the Government”) has failed

 2   to serve Defendant Jeffrey P. Pomerantz with a summons and a copy of the complaint

 3   within the timeframe provided in Rule 4(m). (See generally Dkt.) Although the

 4   Government’s complaint suggests that Mr. Pomerantz is located outside of the United

 5   States (Compl. (Dkt. # 1) ¶ 3) and therefore must be served according to Federal Rule of

 6   Civil Procedure 4(f) to which the Rule 4(m) timeframe does not apply, see Fed. R. Civ. P.

 7   4(f) (describing the means by which to effectuate service in a foreign country), 4(m)

 8   (stating that “[t]his subdivision (m) does not apply to service in a foreign country under

 9   Rule 4(f)”), there is no indication that the Government has attempted to serve Mr.

10   Pomerantz (see generally Dkt.).

11          Accordingly, the court ORDERS the Government to SHOW CAUSE within ten

12   (10) days of the date of this order why this action should not be dismissed for failure to

13   comply with Rule 4 and/or to prosecute this action. If the Government does not timely

14   demonstrate respond to the court’s order to show cause, the court will dismiss the action

15   without prejudice.

16          Dated this 22nd day of February, 2017.

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19
                                                       A
                                                       JAMES L. ROBART
20                                                     United States District Judge

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     ORDER - 2
